        Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 1 of 103




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


JASAAN ALLAH QIYDAAR                                *

                      Plaintiff,                    *

v.                                                  * Civil Action No. DKC-19-1371

BALTIMORE CITY BOARD OF                             *
SCHOOL COMMISSIONERS
                                                    *
                      Defendant.
                                                    *

              *   *      *   *    *   *    *   *    *
              BCBSC’s SECOND MOTION FOR SUMMARY JUDGMENT

       Defendant, the Baltimore City Board of School Commissioners (“BCBSC”), by and

through their undersigned counsel, pursuant to Fed. R. Civ. P. 56 and L.R. 105, moves for summary

judgment, and says:

       1.     BCBSC moves for summary judgment as to Plaintiff’s remaining retaliation claim

in Count I of the Amended Complaint.

       2.     BCBSC incorporates its Memorandum in Support of BCBSC’s Second Motion for

Summary Judgment as if fully set forth herein.

       WHEREFORE, BCBSC respectfully requests this Court enter judgment in its favor as to

Plaintiff’s remaining Retaliation Claim in Count I of the Amended Complaint, with prejudice.
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 2 of 103



                            Respectfully submitted,

                            Shahrazad A. Haughton
                            Tamal A. Banton, Federal Bar No. 27206
                            Senior Counsel
                            Shahrazad A. Haughton, Federal Bar No. 21627
                            Associate Counsel
                            Office of Legal Counsel –
                            Baltimore City Public Schools
                            200 East North Avenue, Suite 208
                            Baltimore, Maryland 21202
                            (410) 396-8542 telephone
                            tabanton@bcps.k12.md.us
                            shaughton@bcps.k12.md.us
                            Attorneys for Defendant BCBSC
        Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 3 of 103



                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 9th day of September 2021, a copy of Defendant BCBSC’s

Second Motion for Summary Judgment and Memorandum in Support thereof, along with exhibits,

were filed electronically in the United States District Court for the District of Maryland and a paper

copy was sent first-class postage prepaid and emailed to:

                               Jasaan Allah Qiydaar
                               2 Pomona West, Apt. #7
                               Baltimore, Maryland 21208
                               jasaanqiydaar@gmail.com
                               Plaintiff



                                               Shahrazad A. Haughton
                                               Shahrazad A. Haughton
        Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 4 of 103



                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND


JASAAN ALLAH QIYDAAR                                   *

                       Plaintiff,                      *

v.                                                     * Civil Action No. DKC-19-1371

BALTIMORE CITY BOARD OF                                *
SCHOOL COMMISSIONERS
                                                       *
                       Defendant.
                                                       *

       *       *       * *    *   *    *    *   *    *   *                                    *
                         MEMORANDUM IN SUPPORT OF
               BCBSC’s SECOND MOTION FOR SUMMARY JUDGMENT

       Defendant, the Baltimore City Board of School Commissioners (“BCBSC”), by and

through its undersigned counsel, in support of its second motion for summary judgment, says:

                                I.      SUMMARY OF ARGUMENT

       Plaintiff, Jasaan Allah Qiydaar (“Plaintiff”), is a former employee of BCBSC. Plaintiff’s

only remaining claim in this case relates to his allegations that BCBSC discriminated against him

when it failed to hire him for any of the 27 non-certificated positions for which he applied. In its

prior decision granting partial summary judgment to BCBSC, this Court made clear that a prima

facie case of discrimination exists for these hiring decisions, and, thus, under well-established Title

VII precedent, the burden has shifted to BCBSC to articulate a legitimate non-discriminatory

reason for not hiring Plaintiff for these non-certificated positions. As discussed below, BCBSC

had legitimate non-discriminatory reasons for not hiring Plaintiff for each of these 27 non-

certificated positions, and Plaintiff has not introduced any evidence to substantiate his allegation

that these reasons were pretext for BCBSC’s efforts to “blacklist” him from future employment



                                                  1
        Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 5 of 103



with BCBSC, in retaliation for the discrimination charge that he filed with the Maryland

Commission on Civil Rights (“MCCR”).

       BCBSC’s hiring process is straightforward and applies to every application submitted for

an open position. There is no evidence to support any contention that Plaintiff was ever deemed

ineligible for hire by BCBSC as a result of the complaint he filed with the MCCR. Moreover,

Plaintiff presented no evidence other than mere speculation and conjecture to support his claims

of retaliation. Therefore, for the reasons set forth herein, there is no genuine dispute as to any

material fact that BCBSC has never retaliated against Plaintiff as to any employment positions

with BCBSC. Thus, BCBSC is entitled to summary judgment in its favor.

                          II.    STATEMENT OF UNDISPUTED FACTS

       BCBSC adopts the factual summary set forth in the background section of the Court’s

September 2020 decision and supplements with additional factual background as follows:

       Plaintiff is a former employee of BCBSC. See ECF. No. 34. Plaintiff worked as a teacher

for BCBSC from approximately August 2000 to June 2008. Id. After his employment ceased with

BCBSC, Plaintiff started a nonprofit which “provided mentoring, success skills, character

education, and internship/job opportunities for students.” Id. In 2011, Plaintiff was hired as a

behavior specialist with Merit Academy of Technology and Health Sciences (“MATHS”), a now

defunct public charter school which was operated by Eudaimonia Foundation under an agreement

with BCBSC. Id. Plaintiff agreed that his employment with MATHS did not make him an

employee of BCBSC, and in 2011, Plaintiff’s employment with MATHS ended. Id.

       Since 2011, Plaintiff has applied for over 34 positions with BCBSC. Id. Some of the

positions required certification, and some did not. Id. Only the latter remain at issue at this point

in the case. BCBSC’s hiring process applies to every applicant equally whether the applicant is



                                                 2
        Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 6 of 103



Plaintiff or anyone else. See Ex. 1. When a candidate applies for an employment position with

City Schools, their application is classified in one of the following categories: eligible, application

received, position filled, pre-screened out, no longer available, or terminate application. Id. Each

of the categories is explained as follows:

    •   If a candidate’s application is marked “eligible,” then the candidate’s application
        has been reviewed by a representative in the Office of Human Capital (“HC”), and
        based upon the job description and the candidate’s resume, an initial determination
        is made that the candidate meets the eligibility criteria, and may be further
        evaluated for the position. Once a candidate is deemed eligible for hire in a certain
        position, their resume is forwarded to the hiring manager, 1 who then determines
        which candidates will be scheduled for an interview. Thus, even when a candidate
        is deemed eligible, the candidate’s eligibility status does not guarantee an interview
        and/or a selection for hire.

    •   If a candidate’s application is marked “application received,” it is an indication that
        the application has been received but has not been reviewed because at the time the
        candidate submitted the application, a pool of eligible candidates was already
        identified and forwarded to the hiring manager; and the hiring manager determined
        and indicated that they were satisfied with the pool of candidates already received.
        Thus, there was no need for HC to pull more candidates for forwarding to the hiring
        manager because the hiring manager already identified the pool of applicants for
        hiring. If a candidate’s application is marked “application received,” it could also
        mean that the applicant did not complete their application, so HC did not have
        enough information to screen the application.

    •   If an application is marked “position filled,” then the position for which the
        candidate applied was no longer open at the time the application was submitted
        because the position was filled by another candidate. This lag occurs sometimes
        because there is a delay in updating BCBSC’s hiring website between the time that
        the position has been filled and the time it takes for the position to be removed from
        the list of open positions on the website. Therefore, there are occasions where
        candidates have the ability to apply online for positions that have already been
        filled.

    •   If an application is marked “pre-screened out,” then the candidate’s application has
        been reviewed by an HC representative, and based upon the job description and the


1
  The hiring manager for a position is the appointed staff person in whichever City Schools office
is seeking to fill a vacancy who is responsible for facilitating the hiring process for that office and
who makes the final recommendation to move forward with hiring an applicant for the position.
Hiring managers are not required to interview all candidates forwarded to them by HC.

                                                  3
          Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 7 of 103



          candidate’s resume, the candidate’s qualifications do not meet the core criteria and
          stated requirements of the open employment position.

      •   If an application is marked as “no longer available,” then the employment posting
          was removed without a hiring to fill the vacant position because BCBSC either no
          longer had a need for the position or no longer had funds designated for the position.

      •   When an application is marked as “terminate application,” it is an indication that
          the candidate has decided to withdraw and/or terminate their employment
          application, or they have communicated to an HC representative that they are no
          longer interested in the position. When a candidate communicates to an HC
          representative that they are no longer interested in the position, the HC
          representative updates the system to indicate that the employment application has
          been terminated.

Id.

          Of the 27 non-certificated positions for which Plaintiff applied, the chart below summarizes

the results of the HC pre-screening process, based on HC staff review of records in BCBSC’s

hiring system. In total, Plaintiff’s applications were designated “application received” for seven

positions; “eligible” for nine positions; “position filled” for six positions; “no longer available” for

two positions; “pre-screened out” for one position; and “terminate application” for two positions.

In addition, for the nine positions where Plaintiff was deemed eligible and moved forward in the

process, the chart below summarizes legitimate non-discriminatory reasons why Plaintiff was not
                       2
ultimately selected.

            Job       HC Pre-      Legitimate Non-Discriminatory Reasons for Hiring
                       Screen
    IRC 1110: School Application Plaintiff applied for this position on April 17, 2011. See
    Support Networks Received    Ex. 1. Plaintiff’s application was received, but it was not
    Officer                      reviewed because at the time the Plaintiff submitted the
                                 application, a pool of eligible candidates was already
                                 identified and forwarded to the hiring manager; and the
                                 hiring manager determined and indicated that they were
                                 satisfied with the pool of candidates already received. Id.

2
 BCBSC suppressed the names and personal information of candidates selected for hire, but
would provide them at the Court’s request.

                                                    4
      Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 8 of 103



       Job            HC Pre-       Legitimate Non-Discriminatory Reasons for Hiring
                      Screen
                                   Thus, there was no need for HC to pull more candidates
                                   for forwarding to the hiring manager because the hiring
                                   manager already identified the pool of applicants for
                                   hiring. Id.
IRC 1268: Program Application      Plaintiff applied for this position on January 14, 2012. See
Evaluator II      Received         Ex. 1. Plaintiff’s application was received, but it was not
                                   reviewed because at the time the Plaintiff submitted the
                                   application, a pool of eligible candidates was already
                                   identified and forwarded to the hiring manager; and the
                                   hiring manager determined and indicated that they were
                                   satisfied with the pool of candidates already received. Id.
                                   Thus, there was no need for HC to pull more candidates
                                   for forwarding to the hiring manager because the hiring
                                   manager already identified the pool of applicants for
                                   hiring. Id.
IRC 2854: Teacher – Application    Plaintiff applied for this position on October 12, 2014. See
Substitute          Received       Ex. 1. Plaintiff’s application was received, but it was not
Emergency                          reviewed because at the time the Plaintiff submitted the
                                   application, a pool of eligible candidates was already
                                   identified and forwarded to the hiring manager; and the
                                   hiring manager determined and indicated that they were
                                   satisfied with the pool of candidates already received. Id.
                                   Thus, there was no need for HC to pull more candidates
                                   for forwarding to the hiring manager because the hiring
                                   manager already identified the pool of applicants for
                                   hiring. Id.
IRC            3189: Application   Plaintiff applied for this position on January 2, 2014. See
Specialist- Teaching Received      Ex. 1. Plaintiff’s application was received, but it was not
and Learning                       reviewed because at the time the Plaintiff submitted the
                                   application, a pool of eligible candidates was already
                                   identified and forwarded to the hiring manager; and the
                                   hiring manager determined and indicated that they were
                                   satisfied with the pool of candidates already received. Id.
                                   Thus, there was no need for HC to pull more candidates
                                   for forwarding to the hiring manager because the hiring
                                   manager already identified the pool of applicants for
                                   hiring. Id.
IRC 3633: Staff Application        Plaintiff applied for this position on December 10, 2014.
Specialist-Strategic Received      See Ex. 1. Plaintiff’s application was received, but it was
Communications                     not reviewed because at the time the Plaintiff submitted
                                   the application, a pool of eligible candidates was already
                                   identified and forwarded to the hiring manager; and the
                                   hiring manager determined and indicated that they were
                                   satisfied with the pool of candidates already received. Id.

                                             5
      Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 9 of 103



        Job            HC Pre-       Legitimate Non-Discriminatory Reasons for Hiring
                       Screen
                                Thus, there was no need for HC to pull more candidates
                                for forwarding to the hiring manager because the hiring
                                manager already identified the pool of applicants for
                                hiring. Id.
IRC 6702: Staff Application Plaintiff applied for this position on March 24, 2018. See
Specialist-    Re- Received     Ex. 1. The application was received, but it was not
Engagement Liaison              reviewed because Plaintiff did not complete his
                                application, so HC did not have enough information to
                                screen the application. Id.
IRC     703:  Staff Application Plaintiff applied for this position on May 7, 2011. See Ex.
Associate-12 Month Received     1. Plaintiff’s application was received, but it was not
                                reviewed because at the time the Plaintiff submitted the
                                application, a pool of eligible candidates was already
                                identified and forwarded to the hiring manager; and the
                                hiring manager determined and indicated that they were
                                satisfied with the pool of candidates already received. Id.
                                Thus, there was no need for HC to pull more candidates
                                for forwarding to the hiring manager because the hiring
                                manager already identified the pool of applicants for
                                hiring. Id.
IRC 6082: Family Eligible       Plaintiff applied for this position on October 2, 2017. See
and      Community              Ex. 1. On February 3, 2018, BCBSC selected another
Engagement (FCE)                candidate who was more qualified than Plaintiff to fill this
Specialist                      position. Id. The position required that the candidate
                                selected for hire demonstrate the requisite ability to
                                provide technical assistance to schools while also having
                                at least three years’ experience working with community
                                organizations. Id. See also Id., Attach 1. The candidate
                                selected for hire considered themselves a “family and
                                community engagement expert,” was employed as a
                                Family and Community Engagement Specialist with the
                                Mid-Atlantic Equity Consortium at the time she applied,
                                and also possessed seven years’ experience working with
                                community based or family supporting organizations. Id.
                                By contrast, while Plaintiff’s resume highlighted extensive
                                teaching experience specifically in the area of special
                                education, he had only three years of community-based
                                work experience. See Ex. 2. Moreover, Plaintiff’s
                                community-based work experience primarily focused on
                                mentorship,      success     skills,   and    internship/job
                                opportunities for students. Id.
IRC 4225: Manager- Eligible     Plaintiff applied for this position on November 14, 2015.
Community                       See Ex. 1. On February 20, 2016, BCBSC selected
Engagement                      another candidate who was more qualified than Plaintiff to

                                             6
     Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 10 of 103



       Job          HC Pre-    Legitimate Non-Discriminatory Reasons for Hiring
                    Screen
                              fill this position. Id. The candidate selected for hire had a
                              master’s degree, which was a preferred qualification
                              within the job description. Id. See also Id., Attach 2. The
                              candidate selected for hire also served as a Family
                              Community Engagement Specialist with BCBSC for five
                              years and had already performed some of the essential
                              functions of this job, such as serving as a liaison between
                              BCBSC, parents, and members of the community. Id. By
                              contrast, Plaintiff’s highest level of education was a
                              bachelor’s degree, and he had a limited amount of
                              community engagement experience, which primarily
                              involved mentoring. See Ex. 2.
IRC 3527: Staff Eligible      Plaintiff applied for this position on July 6, 2014. See Ex.
Specialist-Family             1. BCBSC selected another candidate who was more
and      Community            qualified than Plaintiff. Id. The candidate selected for hire
Engagement Policy             had extensive community based experience and worked as
(FCE) Specialist              a Family and Community Engagement Specialist for four
                              years, having already performed some of the essential
                              functions of this job position, such as working with policy
                              and analyzing data related to the Family and Community
                              Engagement Office. Id. See also Id., Attach 3. While
                              Plaintiff had extensive teaching experience, specifically in
                              the area of special education, he had no experience
                              working with policy and minimal experience working with
                              data analysis. See Ex. 2.
IRC 4226: Manager Eligible    Plaintiff applied for this position on November 14, 2015.
Parent Involvement            See Ex. 1. On March 5, 2016, BCBSC selected another
                              candidate who was more qualified than Plaintiff to fill this
                              position. Id. This position required experience
                              demonstrating the ability to coordinate district-wide
                              learning opportunities for school staff and the ability to
                              analyze data. Id. See also Id., Attach 4. The candidate
                              selected for hire had at least four years of community-
                              based work with experience coordinating district-wide
                              programming including but not limited to experience
                              developing and implementing a STEM master plan and
                              summer curriculum. Id. The candidate selected for hire
                              also had experience analyzing data specifically dealing
                              with family and community engagement priorities. Id. By
                              contrast, while Plaintiff had extensive teaching
                              experience, specifically in the area of special education, he
                              had minimal experience with strictly data analysis. See Ex.
                              2. Plaintiff’s community-based work experience focused
                              on mentoring and educational enrichment. Id.

                                        7
     Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 11 of 103



       Job         HC Pre-    Legitimate Non-Discriminatory Reasons for Hiring
                   Screen
IRC 1241: Staff Eligible     Plaintiff applied for this position on August 28, 2011. See
Associate-Homeless           Ex. 1. On August 16, 2012, BCBSC selected another
Liaison                      candidate who was more qualified than Plaintiff to fill this
                             position. Id. This position required that the candidate
                             selected for hire would have experience demonstrating the
                             ability to plan and develop programs and other
                             informational mechanisms for staff and community
                             groups to gain information specifically related to the issue
                             of homelessness. Id. See also Id., Attach 5. The candidate
                             selected for hire had extensive knowledge of public policy
                             relating to youth homelessness, and has experience
                             demonstrating        developed/implemented          workforce
                             development, life skills, and educational programming to
                             meet the needs of youth that previously experienced
                             homelessness. Id. The candidate selected for hire also had
                             several other work experience skills that specifically
                             related to the issue of homelessness. Id. By contrast, while
                             Plaintiff had extensive teaching experience, specifically in
                             the area of special education and community experience
                             based in mentorship, Plaintiff had no experience
                             specifically related to issues relating to homelessness. See
                             Ex. 2.
IRC         3215: Eligible   Plaintiff applied for this position on January 27, 2014. See
Training/QA                  Ex. 1. On September 29, 2014, BCBSC selected another
Specialist                   candidate who was more qualified than Plaintiff to fill this
                             position. Id. This position required at least one year of
                             experience as a trainer, presenter, project manager,
                             teacher, or in related fields. Id. See also Id., Attach 6. The
                             candidate selected for hire had over one year of experience
                             as a teacher and master’s degree in Instructional
                             Technology. Id. The resume of the candidate selected for
                             hire also demonstrated experience in project planning and
                             project management skills while also highlighting
                             qualifications in best practices for training. Id. By contrast,
                             while Plaintiff had extensive teaching experience,
                             specifically in the area of special education and working
                             to develop IEPs and behavioral intervention programs,
                             Plaintiff’s experience emphasized mentoring and his
                             highest level of education was a bachelor’s degree. See Ex.
                             2.
IRC         6148: Eligible   Plaintiff applied to this position on October 2, 2017. See
Specialist- Youth            Ex. 1. On January 8, 2018, BCBSC selected another
Engagement                   candidate who was more qualified than Plaintiff to fill this
                             position. Id. This position required that the candidate

                                       8
     Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 12 of 103



      Job          HC Pre-    Legitimate Non-Discriminatory Reasons for Hiring
                   Screen
                             selected for hire have experience demonstrating an ability
                             to engage and foster connections with youth while also
                             providing large scale training of school-based staff as well
                             as youth. Id. See also Id., Attach 7. The position also
                             required that the candidate selected for hire have
                             experience demonstrating knowledge of laws, regulations,
                             and policies that impact the City Schools community. Id.
                             The candidate selected for hire deemed themselves a youth
                             engagement expert with experience in teaching and
                             training youth as well as adults in an urban environment
                             and was enrolled in a master’s program at the time of
                             application. Id. The candidate selected for hire also had
                             experience working with student leaders and youth led
                             organization as well as knowledge of laws, regulations,
                             and policies affecting Baltimore’s students. Id. Plaintiff
                             was not enrolled in master’s program and his highest level
                             of education was a bachelor’s degree. See Ex. 2. While
                             Plaintiff had a focus on teaching specifically in the area of
                             special education, Plaintiff’s resume demonstrated limited
                             youth engagement experience with no demonstration of
                             experience or knowledge of law, regulations, or policies
                             impacting Baltimore’s students. Id.
IRC 1339: Family Eligible    Plaintiff applied for this position on December 16, 2011.
and      Community           See Ex. 1. On July 9, 2012, BCBSC selected other
Engagement                   candidates who were more qualified than Plaintiff to fill
Specialist                   this position. Id. This position required a candidate to act
                             as a liaison between City Schools headquarters and
                             individual school administrators/staff, specifically to
                             facilitate best practices for family and community
                             engagement, while also developing and implementing
                             training throughout City Schools. Id. See also Id., Attach
                             8. The candidates selected for this position have
                             demonstrated at least three years of successful experience
                             in working with community based or family supporting
                             organizations. Id. The candidates selected for this position
                             also had demonstrated experience in training and/or
                             experience maintaining relationships with volunteer and
                             community partners. Id. Plaintiff’s resume placed an
                             emphasis on 15 years of teaching experience with
                             emphasis on special education services (such as
                             developing individualized education plans); however,
                             Plaintiff had minimal training experience; and his resume
                             did not demonstrate an ability to meet the desired level of
                             training to be employed in the position. See Ex. 2.

                                       9
      Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 13 of 103



        Job        HC Pre-            Legitimate Non-Discriminatory Reasons for Hiring
                   Screen
IRC 1093: Staff Eligible          On January 29, 2011 and February 14, 2011, BCBSC
Associate-12 Month                selected other candidates who were more qualified than
                                  Plaintiff. See Ex. 1. The position required a candidate to
                                  act as a liaison between City Schools headquarters and
                                  individual school administrators/staff. Id. See also Id.,
                                  Attach 9. The position also required a candidate to provide
                                  support to schools and gather information to implement
                                  best practices. Id. The position noted that a master’s
                                  degree may be required for some positions. Id. The
                                  candidates selected for hire had work experience in
                                  providing supportive services to teachers and acting as a
                                  liaison between City Schools headquarters and school
                                  administrators/staff. Id. Additionally, one of the
                                  candidates selected for hire had a master’s degree. Id.
                                  Plaintiff’s experience places emphasis on mentorship and
                                  teaching, specifically in the area of special education and
                                  providing supports to students in the limited area of special
                                  education. See Ex. 2. Plaintiff’s highest level of education
                                  was a bachelor’s degree. Id.
IRC 3595: Program No Longer The employment posting was removed without a hiring for
Evaluator           II- Available the vacant position because BCBSC either no longer had
Assessments 3                     a need for the position or no longer had funds designated
                                  for the position. See Ex. 3.
IRC 3667: Manager- No Longer Plaintiff applied for this position on December 10, 2014.
Teacher Evaluation Available      See Ex. 1. The employment posting was removed without
                                  a hiring for the vacant position because BCBSC either no
                                  longer had a need for the position or no longer had funds
                                  designated for the position. Id.
IRC 1163: Family Position         Plaintiff applied for this position on June 7, 2011. See Ex.
Institute Specialist    Filled    1. At the time his application was submitted, the position
                                  was no longer open because the position had been filled
                                  by another candidate. Id. This lag occurs sometimes
                                  because there is a delay in updating BCBSC’s hiring
                                  website between the time that the position has been filled
                                  and the time it takes for the position to be removed from
                                  the list of open positions on the website. Id. Therefore,
                                  there are occasions where candidates have the ability to
                                  apply online for positions that have already been filled. Id.
IRC 2804: Assistant- Position     Plaintiff applied for this position on August 17, 2013. See
Legal Department        Filled    Ex. 1. At the time his application was submitted, the
                                  position was no longer open because the position had been
                                  filled by another candidate. Id. This lag occurs sometimes




                                              10
     Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 14 of 103



       Job           HC Pre-    Legitimate Non-Discriminatory Reasons for Hiring
                     Screen
                               because there is a delay on updating BCBSC’s hiring
                               website between the time that the position has been filled
                               and the time it takes for the position to be removed from
                               the list of open positions on the website. Id. Therefore,
                               there are occasions where candidates have the ability to
                               apply online for positions that have already been filled. Id.
IRC 2878: School Position      Plaintiff applied for this position on August 17, 2013. See
Achievement      Filled        Ex. 1. At the time his application was submitted, the
Trainer                        position was no longer open because the position had been
                               filled by another candidate. Id. This lag occurs sometimes
                               because there is a delay on updating BCBSC’s hiring
                               website between the time that the position has been filled
                               and the time it takes for the position to be removed from
                               the list of open positions on the website. Id. Therefore,
                               there are occasions where candidates have the ability to
                               apply online for positions that have already been filled. Id.
IRC 3186: Special Position     Plaintiff applied for this position on January 2, 2014. See
Assistant         Filled       Ex. 1. At the time his application was submitted, the
                               position was no longer open because the position had been
                               filled by another candidate. Id. This lag occurs sometimes
                               because there is a delay on updating BCBSC’s hiring
                               website between the time that the position has been filled
                               and the time it takes for the position to be removed from
                               the list of open positions on the website. Id. Therefore,
                               there are occasions where candidates have the ability to
                               apply online for positions that have already been filled. Id.
IRC 3707:    Board Position    Plaintiff applied for this position on April 18, 2015. See
Executive          Filled      Ex. 1. At the time his application was submitted, the
                               position was no longer open because the position had been
                               filled by another candidate. Id.            This lag occurs
                               sometimes because there is a delay on updating BCBSC’s
                               hiring website between the time that the position has been
                               filled and the time it takes for the position to be removed
                               from the list of open positions on the website. Id.
                               Therefore, there are occasions where candidates have the
                               ability to apply online for positions that have already been
                               filled. Id.
IRC 5968: Staff Position       Plaintiff applied for this position on October 2, 2017. See
Specialist-Student Filled      Ex. 1. At the time his application was submitted, the
Resilience Grant               position was no longer open because the position had been
                               filled by another candidate. Id. This lag occurs sometimes
                               because there is a delay on updating BCBSC’s hiring
                               website between the time that the position has been filled
                               and the time it takes for the position to be removed from

                                        11
      Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 15 of 103



        Job            HC Pre-       Legitimate Non-Discriminatory Reasons for Hiring
                       Screen
                               the list of open positions on the website. Id. Therefore,
                               there are occasions where candidates have the ability to
                               apply online for positions that have already been filled. Id.
IRC 3587: Program Pre-         Plaintiff applied for this position on October 12, 2014. See
Evaluator     II – Screened    Ex. 1. Based upon the job description and Plaintiff’s
Effectiveness      Out         resume, HC determined that his qualifications did not meet
Framework                      the core criteria and stated requirements of the open
                               employment position. Id. The position required a
                               bachelor’s degree in Education, Psychology, Sociology, or
                               a related field with five years of experience with program
                               evaluation and/or statistical assessment analysis or
                               Master’s degree in Education, Psychology, Sociology, or
                               a related field with three years of experience with program
                               evaluation and/or statistical assessment analyses. Id. See
                               also Id., Attach. 10. Plaintiff’s highest level of education
                               was a bachelor’s degree and while Plaintiff had extensive
                               teaching experience, specifically in the area of special
                               education, he had no experience in program evaluation
                               and/or statistical assessment analyses. See Ex. 2.
IRC 1108: School Terminate     Plaintiff applied for this position on April 17, 2011. See
Support Networks Application Ex. 1. Plaintiff decided to withdraw and/or terminate his
Team Facilitator               employment application, or he communicated to an HC
                               representative that he is no longer interested in the
                               position. Id. When a candidate communicates to an HC
                               representative that they are no longer interested in the
                               position, the HC representative updates the system to
                               indicate that the employment application has been
                               terminated. Id.
IRC 1119: Family Terminate     Plaintiff applied for this position on May 7, 2011. See Ex.
and      Community Application 1. Plaintiff decided to withdraw and/or terminate his
Engagement                     employment application, or he communicated to an HC
Specialist                     representative that he is no longer interested in the
                               position. Id. When a candidate communicates to an HC
                               representative that they are no longer interested in the
                               position, the HC representative updates the system to
                               indicate that the employment application has been
                               terminated. Id.




                                            12
           Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 16 of 103



        III.   THE COMPLAINT, AMENDED COMPLAINT, AND PRIOR PROCEEDINGS IN
                                    THIS LITIGATION

           On February 8, 2019, following an unsuccessful conciliation attempt, the United States

Department of Justice issued a notice of right to sue. See ECF No. 34. On May 9, 2019, Plaintiff

initiated this lawsuit by filing a complaint. See ECF No. 1. On July 1, 2019, Plaintiff filed an

Amended Complaint. See ECF No. 10. Plaintiff’s Amended Complaint alleged only a single

count of discrimination premised upon his own conclusory assumptions and conjecture that

BCBSC “retaliated” against him because he filed a discrimination claim with the MCCR against

the Eudaimonia Foundation. See ECF No. 10, ¶¶ 67-77. Specifically, Plaintiff alleged that BCBSC

“blacklisted” him by barring him from obtaining employment with BCBSC “by denying him the

equal opportunity to apply and be considered for employment” and by treating him “differently

than similarly situated employees who applied for jobs… and were not as qualified….” (See id).

           BCBSC filed a motion for summary judgement on January 10, 2020, and it filed a response

to Plaintiff’s motion for sanctions on January 17, 2020. See ECF No. 34. Plaintiff filed an

opposition to BCBSC’s motion for summary judgment and a cross motion for summary judgment

on February 7, 2020. Id. BCBSC replied on March 3, 2020, and Plaintiff replied on March 24,

2020. Id.

           The Court assessed all pending motions in a memorandum opinion issued September 25,

2020. As pertinent here, the Court evaluated the parties’ motions for summary judgment. After

determining that Plaintiff had made out a prima facie case of discrimination, the Court explained

that:

           Plaintiff has produced no evidence that BCBSC’s reason for not hiring him for
           certified teaching positions was pretext, only speculation. BCBSC does not,
           however, present any legitimate, nondiscriminatory reason for failing to hire
           Plaintiff for the non-certificated positions to which he applied. Absent such a



                                                 13
        Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 17 of 103



       reason, Plaintiff’s retaliation claim may proceed with respect to BCBSC’s failure
       to hire him for non-certificated positions.

Thus, the Court denied BCBSC’s motion for summary judgment in part, as to the 27 non-

certificated positions for which Plaintiff applied, and granted it in part, as to the remaining

certificated positions. The Court also denied Plaintiff’s cross motion for summary judgment in its

entirety. Id.


                                IV.     STATEMENT OF THE LAW

       A. Motion for Summary Judgment

       Summary judgment is appropriate against a plaintiff who fails to make a showing sufficient

to establish the existence of an element essential to his case and on which he will bear the burden

of proof at trial. Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). The non-moving party “may

not rely merely on allegations or denials in its own pleading; rather, its response must – by

Declarations or as otherwise provided in this rule set out specific facts showing a genuine issue for

trial.” Fed. R. Civ. P. Rule 56(e)(2); Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

Failure to demonstrate a genuine issue for trial will result in summary judgment. Bouchat v.

Baltimore Ravens Football Club, Inc., 345 F.3d 514, 522 (4th Cir. 2003). The mere existence of

a scintilla of evidence in support of a plaintiff’s case is insufficient; there must be evidence on

which a jury can reasonably find for the non-moving party. Anderson, 477 U.S. at 242.

       Summary judgment may be granted only when “there is no genuine issue as to any material

fact” and the moving party is entitled to judgment as a matter of law.        Fed. R. Civ. P. 56(a)

(emphasis added); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986) (emphasis added). In

determining whether a genuine issue of material fact exists, the Court construes all facts and

inferences in the light most favorable to the non-moving party, drawing all reasonable and



                                                 14
       Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 18 of 103



justifiable inferences in favor of that party. Anderson, 477 U.S. at 255. At the same time, the

Court need not accept unsupported factual allegations or conclusory factual statements that do not

describe actual events. Revene v. Charles County Commr’s, 883 F. 2d 870, 873 (4th Cir. 1989);

United Black Firefighters v. Hirst, 604 F. 2d 844, 847 (4th Cir. 1979). If the record as a whole

could not lead a rational trier of fact to find for the non-moving party, there is no “genuine issue

for trial.” Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986). Stated

otherwise, summary judgment should be granted unless a reasonable jury could return a verdict

for the non-moving party on the evidence presented. See Anderson, 477 U.S. at 247-48. The

disputed factual elements must be material to the legal issues in the case, and the disputes about

them must be genuine, not merely speculative. Id. at 261-63. These concepts are embodied in the

Supreme Court’s pronouncement that “a complete failure of proof concerning an essential

element…necessarily renders all other facts immaterial.” Celotex Corp., 477 U.S. at 323.

       Rule 56 of the Federal Rules of Civil Procedure does not limit the number of motions for

summary judgment that a party may file. However, “it is well established that federal district

courts possess the power to administer their dockets in a manner that conserves scarce judicial

resources and promotes the efficient and comprehensive disposition of cases.” Hartsel Springs

Ranch of Colo., Inc. v. Bluegreen Corp., 296 F.3d 982 (10th Cir. 2002). Thus, judges have the

discretion to limit successive motions for summary judgment. Nevertheless, in this case, BCBSC

has received leave from this Court to file a subsequent motion for summary judgment 4.


4
  In BCBSC’s first motion for summary judgment, BCBSC argued that Plaintiff did not put forth
a prima facie case. However, in the memorandum opinion issued on September 25, 2020, this
Court has made clear that Plaintiff established a prima facie case and that BCBSC has the burden
to put forth a legitimate non-discriminatory reason for not hiring Plaintiff. Therefore, BCBSC is
filing a second motion for summary judgment for the Court to consider its legitimate non-
discriminatory reasons for not selecting Plaintiff for each of the non-certificated positions for
which Plaintiff applied.

                                                15
       Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 19 of 103



       B. Title VII of the Civil Rights Act

       Title VII of the Civil Rights Act (“Title VII”) prohibits discrimination based upon an

employee’s opposition to any employment practice made unlawful by Title VII or participation in

any Title VII investigation, proceeding, or hearing. 42 U.S.C. § 2000e-3(a); see also McDonnell

Douglas Corp. v. Green, 411 U.S. 792, 802-04 (1973). To establish a prima facie claim of retaliation

under Title VII, the plaintiff must show that: (1) he was engaged in protected activity; (2) his

employer took an adverse employment action against him; and (3) that there was a causal link

between the two events. See Ziskie v. Mineta, 547 F.3d 220, 229 (4th Cir. 2008). If a prima facie

case is demonstrated, the burden shifts to the employer to articulate a legitimate, non-discriminatory

reason for the adverse employment action. See Hill v. Lockheed Martin Logistics Mgmt., Inc., 354

F.3d 277, 298 (4th Cir. 2004). In Olivares v. NASA, the Court explained that hiring a more qualified

candidate suffices as a legitimate, non-discriminatory reason for an adverse employment action. See

934 F. Supp. 698 (D. M.D. 1996). If the employer meets its burden of articulating a legitimate non-

discriminatory reason, the plaintiff must then prove by a preponderance of the evidence that the

legitimate reasons offered by the employer were not its true reasons, but rather, there were a mere

pretext for unlawful discrimination. See Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133,

143 (2000). The burden of persuasion, throughout, remains with the plaintiff. See id. at 144; Adams

v. Trs. of the Univ. of N.C.-Wilmington, 640 F.3d 550, 558-59 (4th Cir. 2011).

                                         V.      ARGUMENT

       A. BCBSC Has Offered Legitimate Non-Discriminatory Reasons for Not Selecting
          Plaintiff for Each of the 27 Non-Certificated Position For Which He Applied.

       Plaintiff erroneously alleges that BCBSC “blacklisted” him from future employment with

BCBSC in retaliation for his discrimination charge against the Eudaimonia Foundation. Based

on application of BCBSC’s hiring process consistently with how it applies to every other applicant,

                                                 16
        Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 20 of 103



there are legitimate non-discriminatory reasons why Plaintiff was not selected for each of the 27

non-certificated positions for which he applied. Ex. 1. Despite Plaintiff’s assertion that he has

been “blacklisted” and assigned a blanket designation as “ineligible” for all employment positions

with BCBSC, he was “pre-screened out” for only one out of the 27 non-certificated positions for

which he applied solely because his qualifications on his resume did not meet the minimum and

listed job criteria. Id. at ¶ 38. Plaintiff was deemed eligible for nine of the non-certificated

positions, but his employment eligibility designation did not guarantee him or any candidate would

be scheduled for an interview or selected for hire. In each of these positions, the candidate

ultimately selected was more qualified. Id. at ¶ 22-30. See Olivares, 934 F. Supp. 698 (D. M.D.

1996). For the remainder of the positions, Plaintiff’s applications were designated “application

received” for seven positions; “position filled” for six positions; “no longer available” for two

positions; and “terminate application” for two positions. See Ex. 1. Each of the designations

assigned to Plaintiff’s application relied on the objective designations assigned to anyone that

applies to a position with BCBSC based on HC’s established processes, and they had no

connection to Plaintiff’s discrimination charge against the Eudaimonia Foundation. Indeed,

Plaintiff has not proven that those involved in the hiring process even had knowledge of his

discrimination charge.

        B. There Is No Evidence that BCBSC’s Legitimate Non-Discriminatory Reasons for
           Its Hiring Decisions Were Pretextual.

        Plaintiff has not introduced any evidence that is sufficient to meet his burden of

establishing that BCBSC’s legitimate non-discriminatory reasons were pretext for retaliation

against him in response to the complaint that he filed with the MCCR. As discussed above,

Plaintiff was among pools of numerous applicants for various non-certificated positions, and for

reasons related to his lack of qualifications, selection of other more qualified candidates, filing of the

                                                   17
       Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 21 of 103



position prior to when he submitted his application, or incomplete applications, he was not selected

for hiring by BCBSC’s Office of Human Capital. Stated alternatively, BCBSC has an established

hiring process for open employment positions so that an employment application submission

presents an opportunity for employment, but not a guarantee of employment.

       Plaintiff has failed to produce any evidence demonstrating that BCBSC’s employment

process is illegal or discriminatory in nature, or that BCBSC deviated in any way from utilizing its

standard processes in handling applications for the non-certificated employment positions to which

he applied. Instead, Plaintiff’s case rests upon mere speculation as to why he was not selected from

several large pools of applicants for the available non-certificated positions that he sought.

Actually, Plaintiff’s own testimony and all the evidence produced in this case substantially

demonstrate that BCBSC’s hiring process was equally open to Plaintiff as it was, and still is, to

any other persons seeking employment with BCBSC. See Ex. 4, p. 201, l. 8-12; See also Ex. 4, p.

203, l. 10-13.

       At the core of Plaintiff’s retaliation allegations are two documents. First, he referenced an

email from August 24, 2012 where Lakeysha Hill, a former Human Capital Specialist, responded

to an inquiry from Pamela Smith, another employee in the Office of Human Capital, about

Plaintiff’s viability as a candidate for a vacant special educator position; in that email, Ms. Hill

deemed Appellant ineligible. See ECF No. 34. Second, Plaintiff referenced an email to Jerome

Jones, Director of Labor Relations and Negotiations, on April 11, 2013, where he inquired about

his eligibility for employment with City Schools; Mr. Jones responded:

       You still cannot be hired as a teacher with City Schools if you do not have a
       certificate issued by the Maryland State Department of Education (“MSDE”). You
       could not be hired as a special education teacher because you did not have a
       professional certificate to teach, issued by MSDE… our personnel system indicates
       you are eligible to apply and would be considered for employment, assuming we
       have a vacancy, you have the qualifications, apply for the job [,] and get selected

                                                18
       Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 22 of 103



       as a top candidate. You would not be treated any differently than any other
       candidate.

Id. Despite the express statements of BCBSC staff in the Office of Human Capital indicating that

Plaintiff could apply for positions and would be considered for those positions for which he was

qualified, Plaintiff nevertheless believes that he was “blacklisted” from employment by BCBSC

for filing a complaint with MCCR. See ECF No. 34. Yet Plaintiff presented no evidence contrary

to the established facts; instead, he presented nothing more than conjecture, which is insufficient

to show that BCBSC’s legitimate non-discriminatory reasons for not hiring Plaintiff for any of 27

non-certificated positions were a mere pretext for unlawful discrimination. Therefore, for the

reasons stated herein, there is no genuine dispute as to any material fact, and BCBSC is entitled

to summary judgment in its favor.

                                       VI.     CONCLUSION

       WHEREFORE, for the reasons set forth herein, BCBSC respectfully requests that this

Court grant summary judgment in its favor.



                                             Respectfully submitted,

                                             Shahrazad A. Haughton
                                             Tamal A. Banton, Federal Bar No. 27206
                                             Senior Counsel
                                             Shahrazad A. Haughton, Federal Bar No. 21627
                                             Associate Counsel
                                             Office of Legal Counsel –
                                             Baltimore City Public Schools
                                             200 East North Avenue, Suite 208
                                             Baltimore, Maryland 21202
                                             (410) 396-8542 telephone
                                             tabanton@bcps.k12.md.us
                                             shaughton@bcps.k12.md.us
                                             Attorneys for Defendant BCBSC



                                                19
      Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 23 of 103



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


JASAAN ALLAH QIYDAAR                                   *

                       Plaintiff,                      *

V.                                                     * Civil Action No. DKC-19-1371

BALTIMORE CITY BOARD OF                                *
SCHOOL COMMISSIONERS
                                                       *
                       Defendant.
                                                       *

*      *        *      *     *   *    *     *    *   *                        *       *      *
                           DECLARATION OF ASHLEY WILDER

       I, Ashley Wilder, hereby under oath and under penalty of perjury state that:

       1.       I am over the age of eighteen and am competent to testify as to facts relating to the

above-captioned case as herein described.

       2.       I am currently employed as a Talent Manager in the Office of Human Capital

("HC"); and my employer is the Baltimore City Board of School Commissioners ("BCBSC"). I

have been employed by BCBSC as a Talent Manager for 9 months. Prior to being employed as

a Talent Manager, I was employed as an HC Partner from 2018-2021 and an HC Specialist

from 2015-2018.

       3.       In my capacity as Talent Manager in HC, my duties and responsibilities include

training hiring managers as well as supervisors to understand and implement HC processes and

procedures. In my capacity as an HC Partner, my duties and responsibilities included

performing all functions related to the employment lifecycle (recruiting, selection, performance

management and retention) while also serving as the central office management's primary point

of contact for the Human Capital Office and human capital efforts. As an HC Specialist,

my duties and
                                                   1
                                                                                      EXHIBIT 1
          Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 24 of 103



responsibilities included screening all district office positions to determine eligibility and

facilitating interview processes.

          4.   From 2015 to 2018, I was individually responsible for screening

applications for open employment positions at BCBSC's District Office. 1 During that time, I was

also responsible for screening applications for employment positions deemed "quasi-District

Office" because those positions are funded with District Funds instead of an individual school's

funds.

          5.    Since 2015, I have screened more than five thousand employment applications for

District and quasi-District employment positions.        It is my understanding that among the

employment applications screened between 2015 and 2018, there are some applications for

employment that were submitted by Mr. Jasaan Qiydaar. At that time, however, I was not

personally familiar with Jasaan Qiydaar. Based upon the number of employment applications I

reviewed, I have no personal recollection of the names of applicants who sought employment

during that time; and it was not required that I remember applicant names in the course of my

duties.

          6.    It has been my experience within HC since 2015 that when a candidate applies for

an employment position with City Schools, their application is classified in one of the following

categories: eligible, application received, position filled, pre-screened out, no longer available, or

terminate application. This is true whether the applicant is Jasaan Qiydaar or anyone else.

Upon information and belief, it is my understanding that this classification process is consistent

with how HC operated from 2011 to present.
1
 District Office positions are based out of BCBSC's District Headquarters located at 200 E. North
Avenue Baltimore, MD 21202.



                                                  2
       Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 25 of 103

       7.     If a candidate's application is marked "eligible," then the candidate's application

has been reviewed by a representative in HC and, based upon the job description and the

candidate's resume, an initial determination has been made that the candidate meets the

eligibility criteria. At this point, the candidate may be further evaluated for the position. Once

a candidate is deemed eligible for hire in a certain position, their resume is forwarded to the

hiring manager, 2 who then determines which candidates will be scheduled for an interview.

Thus, even when a candidate is deemed eligible, the candidate's eligibility status does not

guarantee an interview and/or a selection for hire. This is true whether the applicant is Jasaan

Qiydaar or anyone else. It is my understanding that the application review process is consistent

with how HC operated from 2011 to present.

       8.       If a candidate's application is marked "application received," it is an indication

that the application has been received but has not been reviewed because the candidate

submitted the application and, at the time, a pool of eligible candidates was already identified and

forwarded to the hiring manager, who would have determined and indicated that they were

satisfied with the pool of candidates already received. Thus, there was no need for HC to pull

more candidates for forwarding to the hiring manager because the hiring manager already

identified the pool of applicants for hiring. If a candidate's application is marked "application

received," it could also mean that the applicant did not complete their application, so HC

does not have enough information to screen the application. Based upon my knowledge and

experience, a large number of applicants are ultimately placed in this category due to high

interest in most of our open employment positions. This is true whether the applicant is

Jasaan Qiydaar or anyone else. It is my understanding that this process is consistent with how

HC has operated from 2011 to present.
2 The hiring manager for a position is the appointed person that is making the hiring decisions for
whichever City Schools office is seeking to fill a vacancy. Hiring managers are not required to
interview all candidates forwarded to them by HC.
                                                 3
        Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 26 of 103



       9.      If an application is marked "position filled," then the position for which the

candidate applied was no longer open at the time the application was submitted because the

position was filled by another candidate. Lag sometimes occurs due to a delay in updating

BCBSC's hiring website between the time that the position has been filled and the time it takes

for the position to be removed from the list of open positions on the website. Therefore, there

are occasions where candidates have the ability to apply online for positions that have already

been filled. This is true whether the applicant is Jasaan Qiydaar or anyone else. It is my

understanding that this is consistent with how HC has operated from 2011 to present.

       10.     If an application is marked "pre-screened out," then the candidate's application has

been reviewed by an HC representative, and based upon the job description and the candidate's

resume, the candidate's qualifications do not meet the core criteria and stated requirements of the

open employment position. This is true whether the applicant is Jasaan Qiydaar or anyone else. It

is my understanding that this is consistent with how HC has operated from 2011 to present.

       11.     If an application is marked as "no longer available," then the employment posting

was removed without a hiring to fill the vacant position because BCBSC either no longer had a

need for the position or no longer had funds designated for the position. This is true whether the

applicant is Jasaan Qiydaar or anyone else. It is my understanding that this is consistent with how

HC has operated from 2011 to present.

        12.    When an application is marked as "terminate application," it is an indication that

the candidate has decided to withdraw and/or terminate their employment application, or they have

communicated to an HC representative that they are no longer interested in the position. When a

candidate communicates to an HC representative that they are no longer interested in the position,

the HC representative updates the system to indicate that the employment application has been


                                                 4
        Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 27 of 103



terminated. This is true whether the applicant is Jasaan Qiydaar or anyone else. It is my

understanding that this is consistent with how HC has operated from 2011 to present.

        13.     HC maintains electronic records of the job application processes for BCBSC, which

allows employees in HC to go back and review information about candidates (such as cover letters

and resumes) as well as job descriptions and the final status of an applicant's pre-screening.

        14.     It is my understanding that Mr. Qiydaar applied for over 34 positions with City

Schools between 2011 and 2018, and 27 of those positions did not require any certification(s). Of

the 27 non-certificated positions, it is my understanding that Mr. Qiydaar's applications fell into

various categories as described above, and that he was only pre-screened out for 1 of the 27

positions -strictly because his qualifications on his resume failed to meet the minimum and listed

job criteria.

        15.     I was able to look in the hiring system to view the position of IRC 1110: School

Support Networks Officer. Based on my review, I determined that the final status of the pre-screen

of Mr. Qiydaar's application for this position was "application received". Mr. Qiydaar applied for

this position on April 17, 2011. Based on my experience, this designation means, for this

position, Mr. Qiydaar's application was received, but it was not reviewed because at the time he

submitted the application, a poo] of eligible candidates was already identified and forwarded to the

hiring manager; and the hiring manager determined and indicated that they were satisfied with the

pool of candidates already received. Thus, there was no need for HC to pull more candidates for

forwarding to the hiring manager because the hiring manager already identified the pool of

applicants for hiring.

         16.    I was able to look in the hiring system to view the position of IRC 1268: Program

Evaluator II. Mr. Qiydaar applied for this position on January 14, 2012. Based on my review, I



                                                  5
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 28 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 29 of 103
        Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 30 of 103



sends email reminders to the applicant that the application remains incomplete. It is my

understanding that on March 24, 2018, Mr. Qiydaar initiated an application to be employed as a

Staff Specialist- Re-Engagement Liaison, but he never completed his application. Mr. Qiydaar

received emails from City Schools on December 19, 2018 and October 15, 2019 requesting that

he complete his application. To date, Mr. Qiydaar's application remains incomplete despite

notification from City Schools requesting that he complete his application.

       21.     I was able to look in the hiring system to view the position of !RC 703: Staff

Associate-12 Month. Mr. Qiydaar applied for this position on May 7, 2011. Based on my review,

I determined that the final status of the pre-screening process for Mr. Qiydaar's application for this

position was "application received". Based on my experience, this designation means that for this

position, Mr. Qiydaar's application was received, but it was not reviewed because at the time he

submitted the application, a pool of eligible candidates was already identified and forwarded to the

hiring manager; and the hiring manager determined and indicated that they were satisfied with the

pool of candidates already received. Thus, there was no need for HC to pull more candidates for

forwarding to the hiring manager because the hiring manager already identified the pool of

applicants for hiring.

       22.      I was able to look in the hiring system to view the position of /RC 6082: Family

and Community Engagement (FCE) Specialist. Mr. Qiydaar applied for this position on October

2, 2017. Based on my review, I determined that the final status of the pre-screening process for

Mr. Qiydaar's application for this position was "eligible". I also reviewed the job description for

this position, which states that the candidate selected for hire must demonstrate the requisite ability

to provide technical assistance to schools and should have at least three years' experience

working with community organizations. See Attach 1. On February 3, 2018, Candidate A was

hired to
                                                   8
       Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 31 of 103



fill this position. Based on my review of resumes and the job description for this position, BCBSC

selected a candidate that was more qualified than Mr. Qiydaar. Candidate A identified themselves

as a family and community engagement expert, was employed as a Family and Community

Engagement Specialist with the Mid-Atlantic Equity Consortium at the time she applied, and she

also possessed seven years' experience working with community based or family supporting

organizations. Id. By contrast, while Mr. Qiydaar's resume highlighted extensive teaching

experience specifically in the area of special education, he had only three years of community­

based work experience. See Ex 2.           Moreover, Mr. Qiydaar's community-based work

experience primarily focused on mentorship, success skills, and internship/job opportunities for

students. Id.

       23.      I was able to look in the hiring system to view the position of /RC 4225: Manager-

Community Engagement. Mr. Qiydaar applied for this position on November 14, 2015. Based on

my review, I determined that the final status of the pre-screening process for Mr. Qiydaar's

application for this position was "eligible". On February 20, 2016, Candidate B was hired to fill

this position. Based on my review of resumes and the job description for this position, BCBSC

selected a candidate that was more qualified than Mr. Qiydaar. Candidate B had a master's

degree, which was a preferred qualification within the job description. See Attach.              2.

Candidate B also had served as a Family Community Engagement Specialist with BCBSC for

five years, and she had already performed some of the essential functions of this job listed in the

job description, such as serving as a liaison between BCBSC, parents, and members of the

community. Id. By contrast, based on my review of Mr. Qiydaar's resume, his highest level

of education was a bachelor's degree, and he had a limited amount of community

engagement experience, which primarily involved mentoring. See Ex 2.


                                                 9
        Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 32 of 103



       24.     I was able to look in the hiring system to view the position of /RC 3527: Staff

Specialist-Family and Community Engagement Policy (FCE) Specialist. Mr. Qiydaar applied for

this position on July 6, 2014. Based on my review, I determined the final status of the pre­

screening process for Mr. Qiydaar's application for this position was "eligible". Candidate C was

hired to fill this position. Based on my review of resumes and the job description for this position,

BCBSC selected a candidate that was more qualified than Mr. Qiydaar. Candidate C had extensive

community based experience and worked as a Family and Community Engagement Specialist for

four years; she already had performed some of the essential functions of this job position as

detailed in the job description, such as working with policy and analyzing data related to the

Family and Community Engagement Office. See Attach. 3. While Mr. Qiydaar had extensive

teaching experience, specifically in the area of special education, he had no experience working

with policy and minimal experience working with data analysis. See Ex. 2.

       25.     I was able to look in the hiring system to view the position of /RC 4226: Manager

Parent Involvement. Mr. Qiydaar applied for this position on November 14, 2015. Based on my

review, I determined that the final status of the pre-screening process for Mr. Qiydaar's application

for this position was "eligible". On March 5, 2016, Candidate D was hired to fill this position.

Based on my review of resumes and the job description for this position, BCBSC selected a

candidate that was more qualified than Mr. Qiydaar. As detailed in the job description, this

position required experience demonstrating the ability to coordinate district-wide learning

opportunities for school staff and the ability to analyze data. See Attach 4. Candidate D had at

least four years of community-based work with experience coordinating district-wide

programming including but not limited to experience developing and implementing a STEM

master plan and summer curriculum. Id.         Candidate D also had experience analyzing data


                                                 10
       Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 33 of 103



specifically dealing with family and community engagement priorities. Id. By contrast, w hile Mr.

Qiydaar had extensive teaching experience, specifically in the area of special education, he

had minimal experience with strictly data analysis. See Ex. 2. Mr. Qiydaar's community-based

work experience focused on mentoring and educational enrichment. Id.

       26.     I was able to look in the hiring system to view the position of JRC 1241: Sta.ff

Associate-Homeless Liaison. Mr. Qiydaar applied for this position on August 28, 2011. Based on

my review, I determine that the final status of the pre-screening process for Mr. Qiydaar's

application for this position was "eligible". On August 16, 2012, Candidate E was hired to fill this

position. Based on my review of resumes and the job description, BCBSC selected a candidate

that was more qualified than Mr. Qiydaar. This position required that the candidate selected for

hire would have experience demonstrating the ability to plan and develop programs and other

informational mechanisms for staff and community groups to gain information specifically related

to the issue of homelessness. See Attach. 5. Candidate E had extensive knowledge of public

policy relating to youth homelessness, and has experience demonstrating developed/

implemented workforce development, life skills, and educational programming to meet the needs

of youth that previously experienced homelessness. Id. Candidate E also had several other

work experience skills that specifically related to the issue of homelessness. Id. By contrast,

while Mr. Qiydaar had extensive teaching experience, specifically in the area of special

education and community experience based in mentorship, Mr. Qiydaar had no experience

specifically related to issues relating to homelessness. See Ex. 2.

       27.     I was able to look in the hiring system to view the position of !RC 3215:

Training/QA Specialist. Mr. Qiydaar applied for this position on January 27, 2014. Based on my

review, I determined that the final status of the pre-screening process for Mr. Qiydaar's application


                                                 11
         Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 34 of 103



for this position was "eligible". On September 29, 2014, Candidate F was hired to fill this position.

Based on my review of resumes and the job description for this position, BCBSC selected a

candidate that was more qualified than Mr. Qiydaar. This position required at least one year of

experience as a trainer, presenter, project manager, teacher, or in related fields. See Attach. 6.

Candidate F had over one year of experience as a teacher and master's degree in Instructional

Technology. The resume for Candidate F also demonstrated experience in project planning and

project management skills while also highlighting qualifications in best practices for training. By

contrast, while Plaintiff had extensive teaching experience, specifically in the area of special

education and working to develop IEPs and behavioral intervention programs, Plaintiff's

experience emphasized mentoring and his highest level of education was a bachelor's degree. See

Ex. 2.

         28.   I was able to look in the hiring system to view the position ofIRC 6148: Specialist-

Youth Engagement. Mr. Qiydaar applied to this position on October 2, 2017. Based on my review,

I determined that the final status of the pre-screening process for Mr. Qiydaar's application for this

position was "eligible". On January 8, 2018, Candidate G was hired to fill this position. Based on

my review of resumes and the job description for this position, BCBSC selected a candidate that

was more qualified than Mr. Qiydaar. This position required that the candidate selected for hire

have experience demonstrating an ability to engage and foster connections with youth while also

providing large scale training of school-based staff as well as youth. See Attach. 7. The position

also required that the candidate selected for hire have experience demonstrating knowledge of

laws, regulations, and policies that impact the BCBSC community. Id. Candidate G identified

themselves as a youth engagement expert with experience in teaching and training youth as well

as adults in an urban environment and was enrolled in a master's program at the time of application.


                                                 12
       Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 35 of 103



Id. Candidate G also had experience working with student leaders and youth led organization as

well as knowledge of laws, regulations, and policies affecting Baltimore City's students. Id. By

contrast, Mr. Qiydaar was not enrolled in master's program and his highest level ofeducation was

a bachelor's degree. See Ex. 2. While Mr. Qiydaar had a focus on teaching specifically in the

area of special education, Mr. Qiydaar's resume demonstrated limited youth engagement

experience with no demonstration of experience or knowledge oflaw, regulations, or policies

impacting Baltimore City's students. Id.

       29.     I was able to look in the hiring system to view the position of!RC 1339: Family

and Community Engagement Specialist. Mr. Qiydaar applied for this position on December 16,

2011. Based on my review, I determined that the final status of the pre-screening process for Mr.

Qiydaar's application for this position was "eligible". On July 9, 2012, Candidate Hand Candidate

I were hired to fill the vacancies for this position. Based on my review of resumes and the job

description for this position, BCBSC selected candidates that were more qualified than Mr.

Qiydaar. This position required a candidate to act as a liaison between City Schools headquarters

and individual school administrators/staff, specifically to facilitate best practices for family and

community engagement, while also developing and implementing training throughout City

Schools. See Attach. 8. The two candidates selected for this position each demonstrated at least

three years of successful experience in working with community based or family supporting

organizations. Id. They also had demonstrated experience in training and/or experience

maintaining relationships with volunteer and community partners. Id. By contrast, Mr. Qiydaar's

resume placed an emphasis on 15 years ofteaching experience with emphasis on special education

services (such as developing individualized education plans); however, Mr. Qiydaar had minimal




                                                 13
        Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 36 of 103



training experience; and his resume did not demonstrate an ability to meet the desired level

of training to be employed in the position. See Ex. 2.

       30.     I was able to look in the hiring system to view the position of /RC 1093: Staff

Associate-12 Month. Based on my review, I determined that the final status of the pre-screening

process for Mr. Qiydaar's application for this position was "eligible". On January 29, 2011,

Candidate J was hired to fill a vacancy for this position. On February 14, 2011, Candidate K was

also hired to fill a vacancy for this position. Based on my review of resumes and the job description

for this position, BCBSC selected candidates who were more qualified than Mr. Qiydaar. This

position required a candidate to act as a liaison between City Schools headquarters and individual

school administrators/staff, specifically to facilitate best practices for family and community

engagement, while also developing and implementing training throughout City Schools. See

Attach. 9. The candidates selected for this position each demonstrated at least three years of

successful experience in working with community based or family supporting organizations. Id.

They also had demonstrated experience in training and/or experience maintaining relationships

with volunteer and community partners. Id. By contrast, Mr. Qiydaar's resume placed an emphasis

on 15 years of teaching experience with emphasis on special education services (such as

developing individualized education plans); however, Mr. Qiydaar had minimal training

experience; and his resume did not demonstrate an ability to meet the desired level of training to

be employed in the position. See Ex. 2.

       31.     I was able to look in the hiring system to view the position of /RC 3667: Manager-

Teacher Evaluation. Mr. Qiydaar applied for this position on December 10, 2014. Based on my

review, I determined that the final status of the pre-screening process for Mr. Qiydaar's application

for this position was "no longer available". This means that the employment posting was removed


                                                 14
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 37 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 38 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 39 of 103
       Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 40 of 103



Attach. 10. As detailed in the job description, the position required a bachelor's degree in

Education, Psychology, Sociology, or a related field with five years of experience with program

evaluation and/or statistical assessment analysis or Master's degree in Education, Psychology,

Sociology, or a related field with three years of experience with program evaluation and/or

statistical assessment analyses. Id. Mr. Qiydaar's highest level of education was a bachelor's

degree and while Mr. Qiydaar had extensive teaching experience, specifically in the area of special

education, he had no experience in program evaluation and/or statistical assessment analyses.

See Ex. 2

       39.     I was able to look in the hiring system to view the position of IRC 1108: School

Support Networks Team Facilitator. Mr. Qiydaar applied for this position on April 17, 2011.

Based on my review, I determined that the final status of the pre-screening process for Mr.

Qiydaar's application for this position was "terminate application". This designation means that

Mr. Qiydaar decided to withdraw and/or terminate his employment application, or he

communicated to an HC representative that he is no longer interested in the position. When a

candidate communicates to an HC representative that they are no longer interested in the position,

the HC representative updates the system to indicate that the employment application has been

terminated.

       40.     I was able to look in the hiring system to view the position of IRC 1119: Family

and Community Engagement Specialist. Mr. Qiydaar applied for this position on May 7, 2011.

Based on my review, I determined that the final status of the pre-screening process for Mr.

Qiydaar's application for this position was "terminate application". This designation means that

Mr. Qiydaar decided to withdraw and/or terminate his employment application, or he

communicated to an HC representative that he is no longer interested in the position. When a


                                                18
       Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 41 of 103



candidate communicates to an HC representative that they are no longer interested in the position,

the HC representative updates the system to indicate that the employment application has been

terminated.

       41.     In my employment capacity with HC, I have the ability to check the eligibility of

any person seeking employment with City Schools. Based upon my review of all records and

systems that track employment applications, there are no notes, flags, or any indications that Mr.

Qiydaar is not permitted to apply for or be employed by City Schools for any employment position

for which Mr. Qiydaar is qualified and successfully completes the application process. Thus, at no

point was Mr. Qiydaar ineligible for hire as a result of the complaint he filed with the Maryland

Commission on Civil Rights ("MCCR") or for any other reason.



       I SOLEMNLY SWEAR AND AFFIRM, under penalty of perjury and based upon personal

knowledge, that the contents of the foregoing affidavit are true and correct.



 1/'ljPzl                                       �
Date                                          A               �
                                              Talent Manager, Office of Human Capital
                                              Baltimore City Public Schools




                                                 19
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 42 of 103




                                                   ATTACHMENT 1
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 43 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 44 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 45 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 46 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 47 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 48 of 103




                                                 ATTACHMENT 2
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 49 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 50 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 51 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 52 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 53 of 103




                                             ATTACHMENT 3
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 54 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 55 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 56 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 57 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 58 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 59 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 60 of 103




                                            ATTACHMENT 4
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 61 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 62 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 63 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 64 of 103




                                                   ATTACHMENT 5
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 65 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 66 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 67 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 68 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 69 of 103




                                           ATTACHMENT 6
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 70 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 71 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 72 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 73 of 103




                                                   ATTACHMENT 7
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 74 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 75 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 76 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 77 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 78 of 103




                                                   ATTACHMENT 8
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 79 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 80 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 81 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 82 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 83 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 84 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 85 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 86 of 103




                                                 ATTACHMENT 9
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 87 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 88 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 89 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 90 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 91 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 92 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 93 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 94 of 103




                                                    ATTACHMENT 10
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 95 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 96 of 103




                                                         EXHIBIT 2
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 97 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 98 of 103
     Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 99 of 103




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


JASAAN ALLAH QIYDAAR                                  *
                      Plaintiff,                      *

V.                                                    * Civil Action No. DKC-19-1371

BALTIMORE CITY BOARD OF                               *
SCHOOL COMMISSIONERS
                                                      *
                      Defendant.
                                                      *

*      *       *      *      *   *    *     *    *   *                       *      *       *
                            DECLARATION OF JOEL MADRID

       I, Joel Madrid, hereby under oath and under penalty of perjury state that:

       1.      I am over the age of eighteen and am competent to testify as to facts relating to the

above-captioned case as herein described.

       2.      I am currently employed as a Manager - HC Strategy in the Office of Human

Capital ("HC"); and my employer is the Baltimore City Board of School Commissioners

("BCBSC"). I have been employed by BCBSC as Manager-He Strategy for 11 months.

       3.      In my capacity as Manager - HC Strategy in HC, my duties and responsibilities

include managing employee data in various HC data systems including applicant tracking system,

Oracle (HCIS), as well as legacy systems such as I-recruitment.

       4.      I was able to look in the hiring system to view the position of/RC 3595: Program

Evaluator II-Assessments. Based on my review, I determined that Mr. Qiydaar applied for

this position on December 10, 2014.

       5.      Several people applied for the /RC 3595: Program Evaluator II-Assessments

position, but based on my review, no one was ever hired for this position.




                                                                             EXHIBIT 3
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 100 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 101 of 103




                                                         EXHIBIT 4
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 102 of 103
Case 1:19-cv-01371-DKC Document 43 Filed 09/09/21 Page 103 of 103
